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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                 NORTHERN DIVISION


BNSF RAILWAY COMPANY,                            )
                                                 )
                    Plaintiff,                   )
                                                 )
          v.                                     )          No. 2:22-CV-68 RLW
                                                 )
PAULINE MAGIN, et al.,                           )
                                                 )
                    Defendants.                  )

                                            ORDER

       This matter is before the Court on its review of the record. In the First Amended

Complaint to Compel Arbitration (ECF No. 9), Plaintiff BNSF Railway Company (“BNSF”)

alleges that Angelika Salazar is the next friend of N.N., a minor; Shaun Phan, is the next friend

of A.P., a minor; and Thinh Mai, is the next friend of A.M. and A.M., minors. No party has

filed a motion for appointment of next friend in this Court, nor have the parties alleged or

provided evidence that Salazar, Phan, and Mai were appointed as next friends in another court.

See Lechner v. Whitesell by Whitesell, 811 S.W.2d 859, 861 (Mo. Ct. App. 1991) (citing State ex

rel. Marlowe v. Nolan, 347 Mo. 124, 146 S.W.2d 598, 600 (1941) (“Merely alleging that Dana

Michele Whitesell was the mother and next friend does not make her the next friend or

guardian.”).

       Accordingly,

       IT IS HEREBY ORDERED that the parties shall file motions for appointment of next

friend or file documents demonstrating that Salazar, Phan, and Mai were appointed as next

friends in another court no later than Monday, October 24, 2022, or this Court will impose

sanctions, including possible dismissal of the minor defendants or striking of pleadings.
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Dated this 5th day of October, 2022.




                                       RONNIE L. WHITE
                                       UNITED STATES DISTRICT JUDGE
